Case:17-14012-MER Doc#:11 Filed:05/16/17

EDWARD A, CULPEPPER
****This is not a check, *****Advice of deposit only****
EDWARD A. CULPEPPER

9255 CLERMONT DR
DENVER CO 80229

Pay Period: 04/24/2017 - 04/30/2017

Entered:05/16/17 16:43:27 Page1 of 12

 

 

 

05/05/2017

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** *NON-NEGOTIABLE® **

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

EDWARD A. CULPEPPER PAY Hours _Rata Gurrent YTD TAXES Current YTO
9255 CLERMONT DR Salary - : 1,019.23 18,348.14 Federal Income Tax 72.84 1,598.22
DENVER Bonus - - 6.00 372.27 Social Security 62.32 1,215.63
CO, 30229 Commission - - 0.00 1,113.35 Medicare 14.57 284.30
Relmbursement - - 6.00 50.00 CO Income Tax 28,00 574.00
Aurora 2.00 10,00
COLORADO AUTO BODY ING DEDUCTIONS Gurren ie
1465 DALLAS ST AFLAC BEFORE TAX 14.05 224.83
AURORA OTHER PAY Current YTD —_—- PURCHASE REIMBURSEMENT 0.00 73,60
CO, 80010 IT
Pay Perlod SUMMARY Current YTD
04/24/2017 - 04730/2047 BENEFITS Used __ Available Total Pay $1,019.23 $19,881.76
Vacation 0.00 87.69 Taxes $179.73 $3,622.16
Pay Date Deductions $24.16 $480.41
05/05/2017 : :
NET PAY: $815.34
MEMO: Acct#....0008: $815.34
EDWARD A. CULPEPPER PAY Hours___ Rate Current YTO TAXES Current YTD
9255 CLERMONT DR Satary - - 1,019.23 18,346.14 Federal income Tax 72.84 1,638.22
DENVER Bonus : - 0.00 37227 Soclal Security 62.392 1,216.63
CO, 80229 Commission : - 0.00 1,513.35 Medicare 14,57 284,30
Relmbursement - - 0.00 60.00 CO Income Fax 28.00 874.00
Aurora 2.00 10.00
COLORADO AUTO BODY INC DemaTeNs Gurren 8
$465 DALLAS ST AFLAC BEFORE TAX 14.08 294,83
AURORA OTHER PAY Current YTD PURCHASE REIMBUASEMENT 0.09 73.60
CO, 90019
Pay Perlod SUMMARY Current yTp|
O4/24/2017 - 04/30/2017 BENEFITS Used Available Total Pay $1,019.23 $19,861.7;
Vacation 0.00 67,69 Taxes $179.73 $3,622.1
Pay Date Deductions $24.16 $480.41
0565/2017 . 41
NET PAY: $615.34
MEMO: Acctit....0008: $915.34

 
Case:17-14012-MER Doc#:11 Filed:05/16/17

EDWARD A. CULPEPPER

****"Fhis is not a check. *****Advice of deposit only****

EDWARD A. CULPEPPER
9255 CLERMONT DR
DENVER CO 80229

Pay Period: 04/17/2017 - 04/23/2017

EDWARD A. CULPEPPER
9265 CLERMONT CR
DENVER

CO, 80229

COLORADO AUTO BODY ING
1465 DALLAS ST

AURORA

CO, 89010

Pay Perlod
0472017 - 04/20/2017

Pay Date
04/28/2017

MEMO:

EDWARD A. CULPEPPER
9265 CLERMONT DR
DENVER

CO, 80229

COLOR ADG AUTO BODY ING
1465 DALLAS ST

AURORA

CO, 80010

Pay Pezlod
DAN 772017 - 04/23/2617

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PAY Hours Rate Current VTD TAXES Current YTD
Salary . 1,019.23 17,326.91 Federal Income Tax 72.84 4,465.38
Bonus . 0.00 372.27 Socal Security 62.32 4,183.34
Commission 0.00 1,113.35 Medicare 14.59 269.73
Reimbursement 50.00 50.00 CO Income Tax 28,00 546.00

Aurora 0.00 8.00
DEDUCTIONS Current 70
UNIFORMS 10.11 171.87
AFLAG BEFORE TAX 14.06 210.78
OTHER PAY Current YTD PURCHASE REIMBURSEMENT 0.00 73.60
SUMMARY Current ¥To
BENEFITS Used Available Total Pay $1,069.23 $18,862.63
Vacation 0.00 66.15 Taxes S177.74 $3,442.42
Deductions $24.16 $456.25
NET PAY: $867.33
Acct#.. ...0008: $867.33

PAY. Hours Rate Current Yip TAXES Current YTD
Salary - 1,019.23 17,326.91 Federal income Tax 72.84 1,486,48
Bonus - 0.06 372.27 Soclal Security $2.92 1,153.31
Commission - 0.00 1,143.35 Medicare 14.58 263.73
Retmbursement - 50.00 50.00 CO Income Tax 28.00 546.00

Aurora 0.00 8.00

DEOUGTIONS Current YTD

UNIFORMS 10.41 171.87

AFLAC BEFORE TAX 14.05 210.78

OTHER PAY Current yTpD PURCHASE REIMBURSEMENT 0,00 73.60
SUMMARY Currant YTD

BENEFITS Used _ Available Total Pay $1,089.23 $18,862.63:
Vacation 0.00 66.15 Taxes 177.74 $3,442.42
Deductlons $24.16 $456.25)

NET PAY: $867.33

Acct#....0008: $867.33

 
Case:17-14012-MER Doc#:11 Filed:05/16/17

EDWARD A. CULPEPPER
*=This is not a check. *****Advice of deposit oniy****
EDWARD A. CULPEPPER

9255 CLERMONT DR
DENVER CO 86229

Pay Period: 04/10/2017 - 04/16/2017

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EOWARD A. CULPEPPER PAY Hours Rate Current YTD TAXES Current YTD
9255 CLERMONT DR Salary - - 1,019.23 16,307.68 Federal income Tax 72.84 4,992.54
DENVER Bonus . * 0.00 3/227 Soclal Security 62.32 7,090.99
CO, 80229 Commission . * 0.00 4,113.36 Medicare 14.67 255.15
. CO Income Tax 26.00 918.00
Aurora 0.00 8.00
COLORADO AUTO BODY ING Dep eTONS Gurren wp
1485 DALLAS ST AFLAC BEFORE TAX 14.05 198.73
AURORA OTHER PAY Current YTD —- PURCHASE REIMBURSEMENT 0.00 73.60
CO, 80010
Pay Perlod SUMMARY Gurrent YTD
O4NO/2017 - 04/16/2017 BENEFITS Used __Avallable Total Pay $1,019,23 $17,703.30
Vacation 0.00 64.61 Taxes 177.73 $3,264.63
Pay Date Deductions 824.46 $432.09
04/21/2017 : :
NET PAY: $817.34
MEMO: Acct®....0008: $817.34
EOWARD A. CULPEPPER PAY Hours _Rate Currant YTD TAXES Current YID
9255 CLERMONT DAR Salary - - 1,019.23 16,307.68 Federal income Tax 72.84 1,992.54
DENVER Bonus - - 0.00 372.27 Social Security 62.32 1,090.99
CO, 80229 Commission - - 0.00 1,113.35 Medicare 14.57 255.15
CO Income Tax 28,00 513.00
Aurora 6.00 8.00
COLORADO AUTO BODY ING DEDUCTIONS Gurren ve
1485 DALLAS ST AFLAC BEFORE TAX 14.05 198.73
AURORA OTHER PAY Current YTD —- PURCHASE REIMBURSEMENT 0.60 73,60
CO, 80010
Pay Perlod SUMMARY Currant Yio
04M 0/2017 - 4/16/2017 BENEFITS Used Available Total Pay $1,019.23 $17,793.30
Vacation 0.00 64.61 Taxes 8177.73 $3,264.68
Pay Date Deductlons $24.16 $432.00
04/21/2017 : :
NET PAY: $817.34
MEMO: Acct#....0008: $817.34

 
Case:17-14012-MER Doc#:11 Filed:05/16/17

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04/14/2017
EDWARD A. CULPEPPER 0.00
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***This is not a check. *****Advice of deposit only****
EDWARD A, CULPEPPER
9255 CLERMONT DR
DENVER CO 80229
Pay Period: 04/03/2017 - 04/00/2017
EDWARD A. CULPEPPER PAY Hours _ Rate Current YTD TAXES Currant YTD
9255 CLERMONT OA Salary - : 1,019.23 15,288.45 Fedaral Income Tax 162.54 4,319.70
DENVER Bonus 0.00 372.07 Soclal Security 95.27 1,028.67
CO, 80228 Commission 531.33 1,113.95 Medicara 22.28 240.68
CO Income Tax 63.00 490.00
Aurora o.00 3.00
COLORADO AUTO BODY ING SEDUCTION. current 2
1455 DALLAS ST AFLAC BEFORE TAX 14.08 182.68
AURGRA OTHER PAY Current YTD —- PURCHASE REIMBURSEMENT 0.09 73.60
CO, 80010 —
Pay Perlod SUMMARY Current YTB
O4MBI2017 - 04/09/2017 BENEFITS Used —_ Available Total Pay $1,660.56 $16,774.07
Pay Dat Vacation 0.60 63.08 Taxes $323.09 $3,086.95
ay Date
o4nanoi7 Deductions $24.16 $407.93
NET PAY: $1,203.31
MEMO: Aectl....0008: $1,203.31
EDWARD A. CULPEPPER PAY Hours, Rate Current YTD TAXES Current YTD
9255 CLERMONT DA Salary - 1,019.23 15,288.45 Federal Income Tax 162.64 1,349.70
CENVER Bonus - - 0.60 372.27 Soclat Security 95.27 1,028.67
CO, 80229 Commission - - 534.33 1,113.35 Medicare 22.28 240.58
CO Income Tax 63.00 490.00
Aurora 0.00 6.00
COLORADO AUTO BODY INC SepUCTiONs Current ae
1465 DALLAS ST AFLAG BEFORE TAX 14.05 482.68
AURORA OTHER PAY Current YTD  PUACHASE REIMBURSEMENT 0.00 73.60
CO, 800te lt
Pay Period SUMMARY Current YToO
04/03/2017 - 04/09/2017 BENEFITS Used Avaliable Total Pay $1,550.56 $16,774.07,
Vacation 0.00 63.08 Taxes $323.09 $3,086.95
Pay Dale Deductlons $24.16 3407.93
04/14/2017 : :
NET PAY: $1,203.31
MEMO: Acct#....0008: $1,203.31

 
Case:17-14012-MER Doc#:11 Filed:05/16/17

EDWARD A. CULPEPPER

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EOWARD A. CULPEPPER
9255 CLERMONT DR
DENVER CO 80229

Pay Period: 03/27/2017 - 04/02/2017

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EDWARD A.CULPEPPER PAY Hours Rate Currant YTo TAXES Current YiD
9255 CLERMONT DA Salary - - 1,019.23 14,269.22 Federal income Tax 72.84 1,167.16
DENVER Bonus - * 0.60 372.27 Seclal Security 62.32 933.40
CO, 80229 Commission - - 0.00 582.02 Medicare 14.53 248.30
CO Income Tax 26.00 437.00
Aurora 2.00 8.00
COLORADO AUTO BODY INC ee eTONS Suton ie
1465 DALLAS ST AFLAC BEFORE TAX 14.05 163.63
AURORA OTHER PAY Currant YTD —- PURCHASE REIMBURSEMENT 0.00 73.60
CO, 80010 os
Pay Period SUMMARY Currant ¥To
03/27/2017 - 04/022017 BENEFITS Used___ Available Total Pay $1,019.23 $15,228.51
Vacation 0.00 61.54 Taxes. $179.74 $2,763.88
Pay Date Deductions 6 83.
04/07/2017 4.1 $363.77
NET PAY: $815.33
MEMO: Acct#....0008: $316.33
EDWARD A. CULPEPPER PAY Hours Rate Current YTD TAXES Current NTO
9255 CLERMONT DR Salary : . 1,019.23 14,269.22 Federal Income Tax 72.84 1,167.46
DENVER Bonus : . 0.00 372.27 Soclal Security 62.32 933.40
CO, 80228 Commlssion . . 0.00 592.02 Medicare 14.58 216.30
CO Income Tax 28.00 437.00
Aurora 2.00 8.00
COLORADO AUTO BODY ING SEOUCTIONS seen te
1465 DALLAS ST AFLAC BEFORE TAX 14.05 168.63
AURORA OTHER PAY Current YTD PURCHASE REIMBURSEMENT 0.00 73.60
co, Bco10
Pay Perlod SUMMARY Current YTO
0727/2017 - 04/02/2017 BENEFITS Used Avallable Total Pay $1,019.23 $15,223.51
Vacation 0.00 61.54 Taxes $179.74 $2,763.
Pay Date Deductions :
04072017 $24.16 Soa3.77
NET PAY: $815.33
MEMO: Acct#....0008: $816.33

 
Case:17-14012-MER Doc#:11 Filed:05/16/17

EDWARD A. CULPEPPER

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EDWARD A. CULPEPPER
9255 CLERMONT DR
DENVER CO 80229

Pay Period: 03/20/2017 - 03/26/2017

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EDWARD A, CULPEPPER PAY Hours Rate Current ¥TO TAXES Current ¥ib
9255 CLERMONT DR Salary : - 1,019.23 13,249.99 Federal Income Tax 73.27 1,004.32
DENVEA Bonus . : 0.00 372.27 Social Security 62.49 871.08
CO, 80229 Commission - - 0.00 692.02 Medicare 14.62 203.72
CO Income Tax 28.00 409.00
Aurora G.00 6.00
COLORADO AUTO BODY ING pEOeTONS Gu en a
1466 DALLAS ST AFLAG BEFORE TAX 14.24 164,68
AURORA OTHER PAY Current YTD 0 PURCHASE REIMBURSEMENT 0.00 73.60
CO, 80040 —
Pay Pertod SUMMARY Currant YTO
03/20/2017 - 03/2612047 BENEFITS Used Avatlabte Total Pay $1,019.23 $14,204.28
Vacation 0.00 60.00 Taxes $178.38 $2,584.12
Pay Date Deductions $24,595 $359.61
03/31/2017 $21, ;
NET PAY: $819.50
MEMO: Acelé....0008: $819.50
EDWARD A. CULPEPPER PAY Hours Rate Current yTo TAXES Current YTD
9255 CLERMONT DA Salary . : 1,019.23 13,249.99 Federal Income Tax 7327 4,094.42
DENVER Bonus . . 0.00 372.27 Socla! Security 62.49 871.08
CO, 80229 Commisston . . 0.00 682.02 Medicare 14.62 203.72
CO income Tax 28,00 409.00
Aurore 0.00 6.00
COLORADO AUTO BODY ING DERECTCUS Current ee
1485 DALLAS ST AFLAC BEFORE TAX 41.24 154.58
AURORA OTHER PAY Current YTD _- PURCHASE REIMBURSEMENT 6.00 73.60
CO, 80010
Pay Perlod SUMMARY Current ¥1To
03/20/2017 - 03/28/2017 BENEFITS Used ___ Available Total Pay $1,019.23 $14,204.26
Vacation 6.00 66.60 Taxes $178.38 $2,584.14
Pay Date Deductions $2 $359.61
03/31/2017 1.85
NET PAY: $619.50
MEMO: Acotit....0008: $919.50

 
Case:17-14012-MER Doc#:11 Filed:05/16/17

EDWARD A. CULPEPPER
****This is not a check. *****Advice of deposit only****

EDWARD A. CULPEPPER
9255 CLERMONT DR
DENVER CO 80229

Pay Period: 03/20/2017 - 03/28/2017

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EDWARD A CULPEPPER PAY Hours _Rate Current YTD TAXES Current YTD
9255 CLERMONT DA Salary - - 1,019.23 13,249.99 Federal income Tax 73.27 1,094.32
DENVER Bonus . - 0.00 372.27 Sodal Security 62.49 871.08
CO, 80229 Commission . . 0.00 58202 Medicare 14.62 203.72
CO Income Tax 28.00 409.00
Aurora 0.00 6.00
COLORADO AUTO BODY ING Cepeerions Gurren te
1465 DALLAS ST AFLAG BEFORE TAX 11.24 154.58
AURORA OTHER PAY Current Yrp PURCHASE REIMBURSEMENT 0.09 73.60
CO, 80010 —
Pay Perlod SUMMARY Current YTo
03/20/2017 - 03/26/2017 BENEFITS Used Available Total Pay $1,019.23 $14,204.28
Vacation 0.00 60.00 Taxes $178.38 $2,684.12
Pay Date Deductions $21.35 $359.61
031312017 : "
NET PAY: $819.50
MEMO: Acelf....0008: $319.50
EOW ARD A. CULPEPPER PAY Hours _Rate Current Yio TAXES Current YTD
9259 CLERMONT DR Salary - - 1,019.23 13,249.99 Federal Income Tax 73.27 1,094.32
DENVEA Bonus - - 0.00 372.27 Soclal Security 62.49 871.08
CO. 80229 Commission - - 0.00 582.02 Medicare 14.62 200.72
‘ CO Income Tax 28.00 409.00
Aurora 0.00 6.00
COLORADO AUTO BODY INC GemucTions current ae
1465 DALLAS ST AFLAG BEFORE TAX 41.24 154.63
AURORA OTHER PAY Current YTD —- PURCHASE REIMBURSEMENT 0.60 73.60
co, 80010
Pay Pertod SUMMARY Current YTD}
03/20/2017 - 03/26/2017 BENEFITS Used _ Available Tolai Pay $1,019.23 $14,204.2
Vacation 0.00 60.00 Taxes S738 $2,594.4
Pay Dale Deductions $21.35 $359.61
03/31/2017 : :
NET PAY: $819.50
MEMO: Acctd....0008: $819.60

 
Case:17-14012-MER Doc#:11 Filed:05/16/17

EDWARD A. CULPEPPER

****This is not a check. *****Advice of deposit only

EDWARD A. CULPEPPER
9255 CLERMONT DR
DENVER CO 80229

Pay Period: 04/10/2017 - 04/16/2017

EDWARD A. CULPEPPER
9255 CLERMONT DAR
DENVER

CO, 80229

COLORADO AUTO BODY ING
1465 DALLAS ST

AURORA

CO, 80010

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O4Mt0l2017 - 0446/2017

Pay Date
04/21/2017

MEMO:

EDWARD A. CULPEPPER
9255 CLERMONT DR
DENVER

CO, 80229

COLORADO AUTO BODY ING
1465 DALLAS ST

AURORA

CO, 80010

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O4/10/2017 - O4/16/2017

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PAY Hours __ Rate Currant YTD TAXES Current. YO
Salary : 1,039.23 16,307.68 Federal income Tax 72.04 1,392.64
Bonus . 0.00 372.27 Social Security 62.32 1,090.99
Commission 0.00 4,113.35 Medicare 44.57 255.16

CO Income Tax 28.0) $18.00
Aurora 0.00 6.00
DEDUCTIONS Current YTb
UNIFORMS 0.1 161.76
AFLAG BEFORE TAX 14.05 196.73
OTHER PAY Current ¥To PURCHASE REIMBURSEMENT 0.00 73.60
SUMMARY Current YTD
BENEFITS Used Available Total Pay $1,019.24 $17,793.20
Vacation 0.00 $4.61 Taxes Su7A7a $3,264.68
Deductions $24.16 5492.09
NET PAY: $817.34
Acct#....0008: 8817.44

PAY Hours Rate Current YTD TAXES Current YiD
Salary - 1,019.23 16,07.68 Federal Income Tax 72.84 1,392.54
Bonus - 0.00 372.27 Social Security 62.32 1,090.99
Commission - 0.60 1,113.35 Medicare 14.57 255.16

CO Incoms Tax 26.00 618.00
Aurora 0.00 3.00
DEDUCTIONS Current YTO
UNIFORMS 10.41 161.76
AFLAC BEFORE TAX 14.05 196.73
OTHER PAY Current YToO PURCHASE REIMBURSEMENT 0.00 73.60
SUMMARY Current ¥TOD
BENEFITS Used __ Available Total Pay $1,019.23 $17,793 40
Vacation 0.00 64.61 Taxes Si77.73 93,264.
Deductions $24.16 cxczcr|
NET PAY: $817.34
Acct#,,..0008: $817.34

 
Case:17-14012-MER Doc#:11 Filed:05/16/17

EDWARD A, CULPEPPER
*“**This is not a check. *****Advice of deposit only****

EDWARD A. CULPEPPER
9255 CLERMONT DR
DENVER CO 80229

Pay Period: 04/03/2017 - 64/09/2017

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ERWARD A. CULPEPPER PAY Hours Rate Currant YTD TAXES Current YTD
9255 CLERMONT DR Salary - . 1,019.23 15,288.45 Federal incoma Tax 152.54 1,319.70
DENVER Bonus . : 0.00 372.27 Social Security 95.27 1,028.67
CO, 80229 Commission . : 631.33 1,113.35 Medicare 22.28 240.69
CO income Tax 53.00 490.00
Aurora 0.00 8.00
COLORADO AUTO BODY ING BEDUeT ONS Sueant ie
1465 DALLAS ST AFLAC BEFORE TAX 14.05 182.68
AURORA OTHER PAY Current YTR PURCHASE RE(MBURSEMENT 0.00 73.60
CO, 80010
Pay Perlod SUMMARY Current YTo
04/03/2017 - 04/09/2017 BENEFITS Used _ Available Total Pay $1,550.58 $16,774.07
Vacation 0.00 63.08 Taxas $323.09 $3,088.95
Pay Date Deductions $24.16 $407.93
04/14/2017 .
NET PAY: $1,203.31
MEMO: Acct#....0008: $1,203.31
EDWARD A. GULPEPPER PAY. Hours Rate Current YIo TAXES Current ¥TO
9255 CLERMONT DR Salary - - 1,019.23 16,288.45 Federal income Tax 162.54 1,319.76
DENVER Bonus : : 0.00 372.27 Socla} Security 95.27 1,028.67
CO, 80229 Commission - : 531.33 1,113.35 Medicare 22.28 240.58
GO Income Tax 63.00 490.00
Aurora 0.00 8.00
COLORADO AUTO BODY ING DED eTONS Gurren tHe.
1465 DALLAS ST AFLAG BEFORE TAX 14.05 182.68
AURORA OTHER PAY Current YTD PURCHASE REIMBURSEMENT 0.00 73.60
CO, 80010 —
Pay Perlod SUMMARY Current Yo
04/03/2017 - 04/09/2017 BENEFITS Used _ Avaliable Total Pay $1,650.56 $16,774.07
pay Dat Vacatlon 0,00 63,08 Taxes $323.09 $3,086.95)
ay Date Deductions
os aeot7 S2d.16 $407.94
NET PAY: $1,203.31
MEMO: Accl#....0008: $1,203.31

 
Case:17-14012-MER Doc#:11 Filed:05/16/17

EDWARD A. CULPEPPER

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EDWARD A. CULPEPPER
9255 CLERMONT DR
DENVER CO 80229

Pay Period: 04/17/2017 - 04/23/2017

EDWARD A. CULPEPPER
9255 CLERMONT DA
DENVER

CO, 80229

COLORADO AUTO BODY ING
1465 DALLAS ST

AURORA

CO, 80010

Pay Perlod
O4N7fe01? - 04/23/2017

Pay Date
04/28/2017

MEMO:

EDWARD A. CULPEPPEAR
9265 CLERMONT DR
DENVER

CO, 60229

COLORADO AUTO BODY ING
1485 DALLAS ST

AURORA

CO, 80010

Pay Perlod
O4N 7/2017 - 04/23/2017

Pay Date
04/28/2017

MEMO:

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PAY Hours Rate Current yo TAXES Current YTD
Salary - 1,019.23 17,326.91 Federal Income Tax 72.84 1,465.38
Bonus 0.00 372.27 Social Security 62.32 1,183.31
Commission 0.00 1,113.35 Medicare 14.68 269.73
Reimbursement 60.00 50.06 CO Income Tax 28.00 546.00

Aurora a.00 8.00
DEDUCTIONS Gurrent YTB
UNIFORMS 10.11 q71.8F
AFLAC BEFORE TAX 14.05 210,78
OTHER PAY Current YTD PURCHASE REIMBURSEMENT 0.00 73.60
SUMMARY Currant YTD
BENEFITS Used _ Avattable Total Pay $1,069.23 $18,862.53
Vacation 9.00 66.16 Taxes $177.74 $3,442.42
Deductions $24.16 $456.26
NET PAY: $867.33
Acoi#....0008: $867.33

PAY. Hours Rate Currant YTD TAXES Current YTo
Salary - 1,019.23 17,326.91 Federal Income Tax 72.84 1,465.33
Bonus - 0.00 372.27 Social Security 62.32 1,163.31
Commission - 0.00 1,113.35 Medicare 14.58 269.73
Reimbursement 50.00 50.00 CO Incoms Tax 28,00 646.00

Aurora 0.00 8.00
DEDUCTIONS Current YTO
UNIFORMS 10.14 171.87
AFLAC BEFORE TAX 14.05 210.78
OTHER PAY Current YTD —- PURCHASE REIMBURSEMENT 0.00 73.60
SUMMARY Currant YO
BENEFITS Used __Avallable Total Pay $1,069.23 $18,862.53)
Vaeation 9.09 86.16 Taxes $177.74 $3,442.40
Deductions $24.16 8458.25]
NET PAY: $867.33
Accté....0008: $867.33

 
Case:17-14012-MER Doc#:11 Filed:05/16/17

EDWARD A. CULPEPPER

****This is nota check. *****Advice of deposit only****

EDWARD A. CULPEPPER
9255 CLERMONT DR
DENVER CO 80229

Pay Period: 04/24/2017 - 04/30/2017

EOWARD A, CULPEPPER
9255 CLERMONT DR
DENVER

CO, 80229

COLORADO AUTO BODY INC
1465 DALLAS ST

AURORA

CO, 60010

Pay Perlod
04/24/2017 + 04/30/2017

Pay Date
o5/0812017

MEMO:

EDWARD A. GULPEPPER
9255 CLEAMONT DA
DENVER

CO, 20229

COLORADO AUTO BODY ING
1485 DALLAS ST

AURORA

CO, 80010

Pay Perlod
04/24/2017 - 04/30/2017

Pay Oate
0805/2017

MEMO:

Entered:05/16/17 16:43:27 Page11 of 12

05/05/2017

0.00

* * * NON-NEGOTIABLE* * *

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PAY Hours —_ Rate Gurrent YTD TAXES Current YTo
Salary : 1,018.23 18,346.14 Fedaral Incoma Tax 72.84 1,638.22
Bonus 0.00 372.27 Socal Security 62.32 1,215.63
Commission 0.00 1,113.35 Medicare 14.57 284.30
Relrabursement 0.00 60,00 CO Income Tax 28.00 674.00

Aurora 2.00 10.00
DEDUCTIONS Current YTD
UNIFORMS 16.44 481.98
AFLAC BEFORE TAX 14.05 224.83
OTHER PAY Current YTD PURCHASE REIMBURSEMENT 600 73.60
SUMMARY Current ¥TO
BENEFITS Used —_ Availabie Total Pay $1,019.23 $19,894.76
Vacation 0.00 67.69 Taxes $179.73 $3,622.16
Deductions $24.16 $480.41
NET PAY: $815.34
Acct#.,..0008: $815.34

PAY Hours Rate Currant ¥TD TAXES Current YTO
Salary : 4,019.23 18,346.14 Federal Income Tax 72.84 1,538.22
Bonus o.00 372.27 Social Security 62.32 1,215.63
Commission 0.00 1,113.35 Medicare 14.57 284.30
Reimbursement - 6.00 60.00 CO Income Tax 28.00 874.00

Aurora 2.00 10.00

DEDUCTIONS Current YTO

UNIFORMS 70.11 181.98

AFLAC BEFORE FAX 14.05 224.63

OTHER PAY Current YTD PURGHASE REIMBURSEMENT 0.00 73.60
SUMMARY Current Yio

BENEFITS Used Available Total Pay $1,019.23 $19,881.76]
Vacation 0.00 87.69 Taxes SAFES 83,622.15)
Deductlons $24.16 $460.41

NET PAY: $615.34

Acet#....0008: $915.34

 
Case:17-14012-MER Doc#:11 Filed:05/16/17

EDWARD A. CULPEPPER
****This is not a check. *****Advice of deposit only****
EDWARD A. CULPEPPER

9255 CLERMONT DR
DENVER CO 80229

Pay Period: 03/27/2017 - 04/02/2017

Entered:05/16/17 16:43:27 Page12 of 12

04/07/2017

0,00

* * *NON-NEGOTIABLE® * *

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

EOWARD A CULPEPPER PAY Hours __ Rate Currant YTD TAXES Current YTD
9255 CLERMONT DR Salary - : 1,019.23 14,269,22 Federal Income Tax 72.84 1,167.16
DENVER Bonus - - 0.00 372.27 Social Security 62.92 933.40
CO, a0229 Commission : - 9.00 582,02 Medicare 14.63 218.30
CO Income Tax 28.00 437,00
Aurora 2.00 8.00
COLORADO AUTO BODY INC pepeatons Current ie
1465 DALLAS ST AFLAC BEFORE TAX 14.05 168.63
AUROAA OTHER PAY Current YTD - PURCHASE REIMBUASEMENT 0,00 73.60
CO, 80010
Pay Perlod SUMMARY SGurrent YTD
osfe7ieal? - 04/02/2017 BENEFITS Used Available Total Pay $1,019.24 $15,923.51
Vacation 0.00 61.54 Taxes $179.74 $2,763.66
Pay Date Deductions $24.16
04072017 . $383.77
NET PAY: $815.33
MEMO: Acct#....0008: $816.53
EDWARD A GULPEPPER PAY Hours Rate Current Yio TAXES Current YTD
9255 CLERMONT DR Salary - - 1,019.23 14,269.22 Federal Income Tax 72.84 4,167.16
DENVER Bonus - - 0.00 372.27 Social Security 62.32 933.40
CO, 60229 Commission - : 0,00 582.02 Madicare 14.68 218.30
CO Income Tax 28.00 437.00
Aurora 2.00 8.00
COLORADO AUTO BODY ING PeOUSTIONS scuttent ue
4465 DALLAS ST AFLAC SEFORE TAX 14.05 168.63
AURORA OTHER PAY Current YTD PURCHASE REIMBURSEMENT 0.00 73.60
CO, B00tO
Pay Pertod SUMMARY Current YT
03/27/2017 - 04/02/2017 BENEFITS Used Available Tofal Pay $1,019.23 $15,223.64
Vacation 0.00 61.54 Taxes S179.74 $2,763.86
Pay Date Deductlons $24,16 $333.77]
04/07/2017 : ,
NET PAY: $815.33
MEMO: Acel#,,.,.0008: $816.93

 
